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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                             )
                                                    )
               Plaintiffs,                          )
                                                    )
       v.                                           ) Case No. 1:18-CV-68
                                                    )
UNITED STATES OF AMERICA, et al.,                   )
                                                    )
               Defendants,                          ) NOTICE OF APPEAL
                                                    )
KARLA PEREZ, et al.,                                )
                                                    )
              Defendant-Intervenors,                )
and                                                 )
                                                    )
                                                    )
STATE OF NEW JERSEY,
                                                    )
                                                    )
             Defendant-Intervenor.                  )

       NOTICE IS HEREBY GIVEN that Defendant-Intervenor State of New Jersey appeals,

pursuant to 28 U.S.C. § 1291, to the United States Court of Appeals for the Fifth Circuit from the

final Orders of the United States District Court for the Southern District of Texas entered on July

16, 2021 which (1) granted in part and denied in part Plaintiff States’ Motion for Summary

Judgment and denied Defendant-Intervenors’ Motion for Summary Judgment (ECF No. 575), and

(2) granted Plaintiff States’ request for permanent injunction and vacatur (ECF No. 576).

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Dated: September 13, 2021    ANDREW J. BRUCK
                             ACTING ATTORNEY GENERAL OF NEW JERSEY

                             /s/ Mayur P. Saxena
                             Mayur P. Saxena
                             Assistant Attorney General
                             (admitted pro hac vice)

                             Attorneys for Defendant-Intervenor State of New Jersey




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2021, I filed the foregoing Notice of Appeal with

the Clerk of the Court for the United States District Court for the Southern District of Texas via

the CM/ECF system.

       I certify that all parties in the case are registered CM/ECF users and that service will be

accomplished by the CM/ECF system.


                                                            /s/ Mayur P. Saxena
                                                            Mayur P. Saxena




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